                                        Case 3:23-cv-03417-VC            Document 254        Filed 11/05/24      Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     RICHARD KADREY, et al.,                             Case No. 23-cv-03417-VC (TSH)
                                   8                    Plaintiffs,
                                                                                             DISCOVERY ORDER
                                   9              v.

                                  10     META PLATFORMS, INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The Court ORDERS the parties to stop emailing or calling the undersigned’s Courtroom
                                  14   Deputy. The parties shall raise all discovery disputes by filing a joint discovery letter brief.
                                  15          IT IS SO ORDERED.
                                  16

                                  17   Dated: November 5, 2024
                                  18
                                                                                                     THOMAS S. HIXSON
                                  19                                                                 United States Magistrate Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
